          Case 1:11-cv-01831-RDB Document 6 Filed 08/15/11 Page 1 of 1


                                                                                             -FILED
                                                                                            _lOOG£{) -----'ENTElfD
                      IN THE UNITED STATES DISTRICT COURT                                                      --..JRECEIVED
                         FOR THE DISTRICT OF MARYLAND
                                                                                           AUG 1 5 2011
                                                                                              ~,~     •••..•     1.-

REBECCA MOORE                                                                            Q.ERK'U's. DISTRICT COURT
                                                                                     .•-   DISTRICT OF MARYlAND

       Plaintiff

v                                                            Civil Action No. RDB-11-1831

CBE GROUP, INC.

       Defendant
                                               000
                                             ORDER
                                                                             (II--
       In light of Plaintiff s Notice of Voluntary Dismissal, it is this   1£ day of IJv po". r ,
2011, by the United States District Court for the District of Maryland, hereby ORDERED that:

       1. The Complaint IS DISMISSED without prejudice;

       2. The Clerk SHALL PROVIDE a copy of this Order to Plaintiff; and

       3. The Clerk SHALL CLOSE this case.



                                                               ;Ut,J.~
                                                           RICHARD D. BENNETT
                                                       UNITED STATES DISTRICT JUDGE
